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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   CHRISTINE CONFORTI, et al.,
                                                Case No.: 3:20-cv-08267-ZNQ-TJB
                  Plaintiffs,

            vs.

   CHRISTINE GIORDANO HANLON, in
   her official capacity as Monmouth County
   Clerk, et al.,

                  Defendants.




      BRIEF ON BEHALF OF INTERVENOR, CAMDEN COUNTY DEMOCRAT
   COMMITTEE, IN SUPPORT OF MOTION TO INTERVENE PURSUANT TO FED. R.
                              CIV. P. 24.



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                                           INTRODUCTION

         This case involves alleged constitutional violations concerning New Jersey’s primary

  election system and bracketing structure. Plaintiffs Christine Conforti, Arati Kreibuch, Mico

  Lucide, Joseph Marchica, Kevin McMillian, Zinovia Spezakis, and New Jersey Working Families

  Alliance, Inc., (collectively “Plaintiffs”), instituted this action seeking a declaration that New

  Jersey’s primary election bracketing and ballot placement system is unconstitutional. Specifically,

  Plaintiffs seek injunctive relief to ensure that the purported primacy effect and positional bias do

  not advantage bracketed candidates over other candidates running for the same office.

         The central dispute concerns the organization, configuration, and design of ballots utilized

  in New Jersey’s primary elections. Plaintiffs are former candidates that participated in the 2020

  Primary and 2021 Primary. They contend that New Jersey’s bracketing and ballot placement

  system violates their First and Fourteenth Amendment rights as well as their equal protection rights

  because the structure fails to treat similarly situated persons—that is, candidates pursuing the same

  office in the same political party—the same with respect to ballot order and placement. In

  Plaintiffs’ view, bracketed candidates are awarded preferential ballot position while unbracketed

  candidates, running for the same office, are not granted similar treatment and, thus, will not obtain

  a favorable ballot position.

         Defendants and Intervenor State of New Jersey filed motions to dismiss Plaintiffs’

  Complaint asserting, in relevant part, that Plaintiffs lacked subject matter jurisdiction and that their

  claims failed to state a claim upon which relief can be granted. On May 31, 2022, the Court granted

  in part and denied in part Defendants’ motions to dismiss, finding that Plaintiffs had standing to

  bring certain claims and that those claims stated a claim for relief. As a result of the Court’s ruling,

  the interests of the Camden County Democrat Committee (“CCDC”) are now directly implicated



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  in the present action, specifically, the interests of CCDC in endorsing and supporting Democratic

  candidates for elections in Camden County, as protected by the First Amendment. CCDC now

  seeks to intervene in this case as a matter of right pursuant to Federal Rule of Civil Procedure Rule

  24 to protect its legal interests which are not currently represented by any of the existing parties to

  this litigation and will be directly impacted by any disposition in this matter. Because the Court’s

  resolution of this case may hinder CCDC’s ability to protect its interests, and this Motion is timely

  made, CCDC respectfully submits that its Motion to Intervene should be granted.

                                      STATEMENT OF FACTS

         On January 25, 2021, Plaintiffs filed the First Amended Complaint against Defendants

  Christine Giordano Hanlon, in her official capacity as Monmouth County Clerk, Scott M.

  Colabella, in his official capacity as Ocean County Clerk, Paula Sollami Covello, in her official

  capacity as Mercer County Clerk, John S. Hogan, in his official capacity as Bergen County Clerk,

  Edward P. McGettigan, in his official capacity as Atlantic County Clerk, and E. Junior Maldonado,

  in his official capacity as Hudson County Clerk. (See ECF No. 33). Plaintiffs assert various claims

  and alleged constitutional violations concerning New Jersey’s primary election system.

         Specifically, Plaintiffs claim that “New Jersey primary election ballots are configured to

  stack the deck for certain candidates at the expense of others, thereby undermining the integrity of

  elections and hindering our democracy.” (See ECF No. 33, ¶ 1). Plaintiffs seek a declaration that

  New Jersey’s primary election bracketing and ballot placement system is unconstitutional, and

  seek injunctive relief “to ensure that the primacy effect/positional bias and weight of the line do

  not continue to advantage bracketed candidates over other candidates running for the same office

  . . . .” (See ECF No. 33, ¶¶ 12, 13).




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         Plaintiffs bring claims against Defendants in their official capacities as county clerks,

  contending that Defendants are “vested with certain statutory duties and obligations including but

  not limited to the designing, preparation, and printing of all ballots, the issuance of mail-in ballots,

  and conducting a drawing for ballot position for various elections held in [various counties]. . . .”

  (See ECF No. 33, ¶¶ 57, 58-62). Additionally, Plaintiffs have specifically identified the Camden

  County Clerk as a party in interest in this matter, stating:

                 The County Clerks for the remaining 15 counties in New Jersey are
                 not parties to the Complaint but are being or will be furnished with
                 a copy of the First Amended Complaint because they also enforce
                 and administer ballot design and ballot placement laws which are
                 called into question in this action in their respective counties:
                 Burlington, Camden, Cape May, Cumberland, Essex, Gloucester,
                 Hunterdon, Middlesex, Morris, Passaic, Salem, Somerset, Sussex,
                 Union, and Warren.

  See ECF No. 33, ¶ 64.

         Camden County Democrat Committee is the statutory non-profit regular Democratic Party

  Organization for Camden County. (See Certification of Michael Porch, at ¶ 8 [hereinafter, “Porch

  Cert.”], Exhibit A). The CCDC promotes and endorses Democrat candidates nominated in New

  Jersey primary elections, and is “committed to serving the community by supporting and electing

  candidates at every level that will fight to level the playing field for Camden County’s working

  families.” (See Porch Cert. at ¶ 9).

         On May 31, 2022, the Court granted in part and denied in part motions to dismiss by all

  named Defendants and Intervenor State of New Jersey. In doing so, the Court found, among other

  things, that Plaintiffs have standing to bring their claims and that such claims state a claim upon

  which relief can be granted. The remaining claims in this action are currently pending before the

  Court. CCDC now moves to intervene to safeguard its rights afforded by the First Amendment.




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                                         LEGAL ARGUMENT

    I.    THE STANDARD FOR INTERVENTION

          Federal Rule of Civil Procedure Rule 24(a) governs intervention as of right and provides,

  in relevant part:

                  [o]n timely motion, the court must permit anyone to intervene who
                  . . . claims an interest relating to the property or transaction that is
                  the subject of the action, and is so situated that disposing of the
                  action may as a practical matter impair or impede the movant’s
                  ability to protect its interest, unless existing parties adequately
                  represent that interest.

          Rule 24 also provides for permissive intervention, which is available upon timely

  application when a non-party “has a claim or defense that shares with the main action a common

  question of law or fact.” Fed.R.Civ.P. 24(b)(1)(B). “Whether to grant permissive intervention

  under Rule 24(b), as the doctrine’s name suggests, is within the discretion of the district court.”

  Brody v. Spang, 957 F.2d 1108, 1124 (3d Cir. 1992). “In exercising its discretion, the court must

  consider whether the intervention will unduly delay or prejudice the adjudication of the original

  parties’ rights.” Fed.R.Civ.P. 24(b)(3).

   II.    CCDC SHOULD BE PERMITTED TO INTERVENE AS A MATTER OF RIGHT
          PURSUANT TO FED.R.CIV.P. 24(a)(2).

          Intervenor CCDC respectfully submits that the interests at stake require its intervention in

  this matter as of right. The Third Circuit has held that a non-party seeking intervention as of right

  under Rule 24(a)(2) must establish (1) a timely application for leave to intervene; (2) a sufficient

  interest in the underlying litigation; (3) a threat that the interest will be impaired or affected by the

  disposition of the underlying action, and (4) that the existing parties to the action do not adequately

  represent the prospective intervenor’s interests. Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d

  216, 220 (3d Cir. 2005); see also Kleissler v. U.S. Forest Serv., 157 F.3d 964, 969 (3d Cir. 1998).

  “Each of these requirements must be met to intervene as of right.” Id. (citing Mountain Top Condo.

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  Ass’n. v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 366 (3d Cir. 1995)). Here, CCDC

  satisfies all of these requirements in this case.

          First, CCDC’s application to intervene as of right is timely. “The timeliness of a motion

  to intervene is ‘determined from all the circumstances’ and, in the first instance, ‘by the [trial]

  court in the exercise of its sound discretion.’” In re Fine Paper Antitrust Litig., 695 F.2d 494, 500

  (3d Cir. 1982) (citing NAACP v. New York, 413 U.S. 345, 366 (1973)). In determining whether

  the motion to intervene is timely, courts may consider “(1) the stage of the proceeding; (2) the

  prejudice that delay may cause the parties; and (3) the reason for the delay.” Mountain Top, 72

  F.3d at 369; see also In re Fine Paper Antitrust Litig., 695 F.2d at 500.

          In this matter, the Court has recently determined the threshold issues concerning whether

  Plaintiffs have subject matter jurisdiction—namely, whether Plaintiffs have Article III standing to

  bring their claims, whether their claims related to the 2020 Primary are moot, and further, whether

  their claims related to the 2021 Primary and future primaries are unripe. (See ECF No. 111). In

  addition, the Court also addressed whether Plaintiffs’ Complaint should be dismissed for failure

  to join certain parties, for failure to state a claim, or whether the Eleventh Amendment provides

  immunity for county clerks. (See ECF No. 111). In finding that Plaintiffs have subject matter

  jurisdiction to bring their claims, and that such claims state a claim upon which relief can be

  granted, this matter now implicates—for the first time—the rights of CCDC, including

  constitutional rights specifically enumerated in the First Amendment. Moreover, Defendants have

  not yet filed Answers to Plaintiffs’ First Amended Complaint. Thus, permitting CCDC to

  intervene, at this juncture, will neither unduly delay the adjudication of this litigation nor prejudice

  the rights of the existing parties.

          While CCDC acknowledges that two years have passed since the Complaint was initially



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  filed, and approximately six months have elapsed since the filing of the operative Complaint, “[t]he

  mere passage of time, however, does not render an application untimely.” Mountain Top, 72 F.3d

  at 369. Further, “to the extent the length of time an applicant waits before applying for intervention

  is a factor in determining timeliness, it should be measured from the point at which the applicant

  knew, or should have known, of the risk to its rights.” U.S. v. Alcan Aluminum, Inc., 25 F.3d

  1174, 1183 (3d Cir. 1994). Here, the threat to CCDC’s rights only became readily apparent on

  May 31, 2022, when this Court granted in part and denied in part all motions to dismiss and found,

  among other things, that Plaintiffs have standing to bring their claims. As such, to the extent that

  the Court is inclined to consider the passage of time in its determination of the instant motion to

  intervene, CCDC respectfully submits that such passage of time should only be measured from the

  date of the Court’s Order granting in part and denying in part Defendants’ Motions to Dismiss on

  May 31, 2022.

         Second, CCDC has a sufficient interest in the underlying litigation. “While the precise

  nature of the interest required to intervene as of right has eluded precise and authoritative definition

  some general guidelines have emerged.” Mountain Top, 72 F.3d at 366 (internal citations

  omitted). The United States Supreme Court has recognized that “an intervenor’s interest must be

  one that is ‘significantly protectable.’” Id. (citing Donaldson v. U.S., 400 U.S. 517, 531 (1971)).

  In defining “significantly protectable” interest within the meaning of Rule 24(a)(2), the Third

  Circuit has held that “‘the interest must be a legal interest as distinguished from interests of a

  general and indefinite character.’” Mountain Top, 72 F.3d at 366 (citing Harris v. Pernsley, 820

  F.2d 592, 601 (3d Cir. 1987)). In other words, “[t]he applicant must demonstrate that there is a

  tangible threat to a legally cognizable interest to have the right to intervene.” Id.

         Here, CCDC has an identifiable, significantly protectable legal interest in its freedom to



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  associate with Democratic candidates for office, as afforded by the First Amendment. In Kusper

  v. Pontikes, the United States Supreme Court acknowledged that “[t]here can no longer be any

  doubt that freedom to associate with others for the common advancement of political beliefs and

  ideas is a form of orderly group activity protected by the First and Fourteenth Amendments.” 414

  U.S. 51, 56-57 (1973). Thus, “[t]he right to associate with the political party of one’s choice is an

  integral part of this basic constitutional freedom.” Id. at 57. Here, any disposition by the Court

  regarding the constitutionality of New Jersey’s primary election system will impact, and

  potentially impair, CCDC’s First Amendment rights—namely, its freedom to associate with

  Democratic candidates for office.

         Furthermore, a declaration that New Jersey’s primary election bracketing and ballot

  placement system is unconstitutional would abrogate Eu v. S.F. Cty. Democratic Cent. Comm.,

  489 U.S. 214 (1989). In Eu, the Supreme Court reviewed the California Elections Code which

  prohibited, among other things, “official governing bodies of political parties from endorsing

  candidates in party primaries.” 489 U.S. 214, 216 (1989). The California Elections Code

  specifically provided that official governing bodies “shall not endorse, support, or oppose, any

  candidate for nomination by that party for partisan office in the direct primary election.” Id. at

  217 (citing Cal.Elec.Code Ann. § 11702 (West 1977)). In evaluating the constitutionality of the

  California Elections Code, the Court stated:

                 Barring political parties from endorsing and opposing candidates not
                 only burdens their freedom of speech but also infringes upon their
                 freedom of association. It is well settled that partisan political
                 organizations enjoy freedom of association protected by the First
                 and Fourteenth Amendments. Freedom of association means not
                 only that an individual voter has the right to associate with the
                 political party of her choice, but also that a political party has a right
                 to identify the people who constitute the association, and to select a
                 standard bearer who best represents the party’s ideologies and
                 preferences.


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  Id. at 224 (internal citations omitted).

          The Court further recognized that “[d]epriving a political party of the power to endorse

  suffocates this right.” Id. The endorsement ban, according to the Court, “prevents parties from

  promoting candidates ‘at the crucial juncture at which the appeal to common principles may be

  translated into concerted action, and hence to political power in the community.’” Id. (citing

  Tashjian v. Republican Party of Connecticut, 479 U.S. 208, 216 (1986). Accordingly, the Court

  found that California’s ban on endorsements by the political party “is clearly a restraint on the

  right of association.” Eu, 489 U.S. at 225 (citing Citizens Against Rent Control/Coalition for Fair

  Housing v. Berkeley, 454 U.S. 290, 296 (1981)). Therefore, the Court held that because the ban

  burdened the rights to free speech and free association, it can only survive constitutional scrutiny

  if it serves a compelling governmental interest. Eu, 489 U.S. at 225.

          Here, CCDC has a readily identifiable, significantly protectable legal interest in its First

  and Fourteenth Amendment rights of free association. If the Court were to find that New Jersey’s

  primary election bracketing and ballot placement system is unconstitutional, this would effectively

  abrogate Eu v. S.F. Cty. Democratic Cent. Comm., 489 U.S. 214 (1989), and CCDC’s right to

  “identify the people who constitute the association and to select a standard bearer who best

  represents the party’s ideologies and preferences.” Eu, 489 U.S. at 224. A finding in favor of

  Plaintiffs, in turn, would conflict with the well-established precedent set forth in Eu, and eviscerate

  CCDC’s right to endorse, and freedom to associate, with Democratic candidates for office that

  best represent CCDC’s ideologies and preferences.

          Furthermore, contrary to Plaintiffs’ assertions, the legislative framework governing New

  Jersey’s primary elections does not infringe upon any constitutional right asserted by Plaintiffs.

  Indeed, as recognized by the Court, New Jersey courts have reviewed similar challenges to New


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   Jersey’s bracketing system and have upheld the constitutionality of the bracketing structure.

           For example, in Quaremba v. Allan, plaintiffs—unsuccessful candidates at a primary

   election—challenged New Jersey’s bracketing structure. Plaintiffs advanced three arguments.

   First, they challenged as unconstitutional N.J.S.A. 19:49-2, which regulates the positioning on the

   lines of a voting machine of the names of candidates for nomination at a primary election.

   Quaremba, 67 N.J. 1, 7 (1975). Second, they alleged that even though N.J.S.A. 19:23-24 expressly

   excepts from its provisions counties where section N.J.S.A. 19:49-1 of the Revised Statute applies,

   the county clerk of such county should and must comply with the provisions of N.J.S.A. 19:23-24

   and list all candidates for nomination to any given office, in the order determined by lot, in a single

   column or row. Id. Lastly, they contended that although the Bergen County Clerk alleges to follow

   the provisions of N.J.S.A. 19:49-2, he has abused his discretion and discriminated against

   candidates, such as plaintiffs, who are not affiliated with the Bergen County Republican

   organization. Id. Plaintiffs argued that the bracketing statute “creates preferred classes of primary

   candidates . . . and imposes an unequal burden on unaffiliated candidates and thus denies them

   their constitutional rights.” Id. at 10.

           The New Jersey Supreme Court found that there was no merit to any of plaintiffs’

   constitutional arguments. Id. First, the New Jersey Supreme Court acknowledged that “there can

   be no doubt about the authority of the Legislature to adopt reasonable regulations for the conduct

   of primary and general elections [and] [s]uch regulations, of course, may control the manner of

   preparation of the ballot, so long as they do not prevent a qualified elector from exercising his

   constitutional right to vote or any person he chooses.” Id. at 11. In the Court’s view, “[n]othing

   in the challenged section inhibits any voter from voting for any person he chooses or limits the

   right of any candidate to run for office.” Id. Ultimately, the Court found that it is clear that the



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   statute was not invidiously discriminatory. Id.

           Additionally, in Schundler v. Donovan, the Appellate Division reviewed a summary

   disposition before the trial court approving the court clerks redrawing for ballot positions. 377

   N.J. Super. 339, 341 (App. Div. 2005). Plaintiffs were candidates seeking the Republican Party’s

   nomination in the June election for their respective offices. Id. at 343. They alleged that the clerks

   “have made erroneous decisions respecting the positioning of various candidates on the ballot”

   and sought an order compelling the clerks to redraw for the ballot positions. Id.

           In interpreting the constitutionality of the statute in light of the Supreme Court’s holding

   in Eu, the Appellate Division found that “there is nothing inherent in the first sentence of the statute

   that conflicts with the overriding principle of Eu; and there can be no rights violation where a

   county clerk makes a fair effort to follow the dictate that all candidates for the highest office, i.e.,

   U.S. Senator or Governor, be treated equally to the extent physical constraints allow, as long as,

   at the same time, a good faith effort is made to effect the expressive rights of all candidates.” Id.

   at 348. In sum, based on circumstances of the case, the Appellate Division mandated “an approach

   which requires all the candidates to begin from the same position, subject to the customary drawing

   as to relative placement, without so extraneous a consideration as bracketing or non-bracketing as

   the beginning point, notwithstanding that the right to bracketing is, as a general matter,

   fundamental as an expressive exercise.” Id.

           Based on the foregoing, it is clear that New Jersey courts have upheld the constitutionality

   of the bracketing system, and the legislative framework governing primary elections does not

   impede upon any constitutional rights asserted by Plaintiffs.

           Third, CCDC’s interest will be significantly impaired or affected by the disposition of the

   underlying action. “In order to meet the requirements of Rule 24(a)(2), proposed intervenors must



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   also demonstrate that their interest might become affected or impaired, as a practical matter, by

   the disposition of the action in their absence.” Mountain Top, 72 F.3d at 368 (citing Alcan

   Aluminum, 25 F.3d at 1185 n.15)). In this action, Plaintiffs bring claims specifically challenging

   the organization, configuration, and design of ballots used in New Jersey’s primary elections.

   According to Plaintiffs, bracketed candidates—those who associate with other candidates—

   receive preferences over unbracketed candidates. Thus, Plaintiffs, in turn, seek a declaration that

   New Jersey’s primary election bracketing and ballot placement system is unconstitutional, and

   further request injunctive relief to ensure that the primacy effect/positional bias do not continue to

   advantage bracketed candidates over other candidates running for the same office. Accordingly,

   the disposition of this matter will directly impact, and potentially impair, CCDC’s freedom to

   associate with other Democratic candidates that align with CCDC’s ideologies and preferences, as

   afforded by the First Amendment and reaffirmed in Eu.

          Fourth, none of the currently existing parties adequately represent CCDC’s interests. “The

   requirement of the Rule is satisfied if the applicant shows that representation of his interest ‘may

   be’ inadequate; and the burden of making that showing should be treated as minimal.” Mountain

   Top, 72 F.3d at 323 (citing Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972)).

   Indeed, it has been noted that,

                  The most important factor in determining adequacy of
                  representation is how the interest of the absentee compares with the
                  interest of the present parties. If the interest of the absentee is not
                  represented at all, or if all existing parties are adverse to him, then
                  he is not adequately represented. If his interest is identical to that of
                  one of the present parties, or if there is a party charged by law with
                  representing his interest, then a compelling showing should be
                  required to demonstrate why this representation is not adequate.

   Mountain Top, 72 F.3d at 323 (citing 7C Wright, Miller & Kane, Federal Practice & Procedure §
   1909, at 318-19 (1986)); see generally Alcan Aluminum, 25 F.3d at 1185-86.



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           Here, none of the current parties represent the interests of CCDC. Plaintiffs are seeking a

   declaration that New Jersey’s primary election bracketing structure and ballot placement system

   is unconstitutional in order to increase their chances of succeeding in their respective positions.

   The Attorney General is seeking a finding that the constitutionality the challenged statute be

   upheld. County Clerk Defendants have an interest in the administration and application of New

   Jersey’s election laws, and any adverse ruling may impair County Clerk Defendants’ practices and

   procedures in facilitating primary elections. None of the parties take the position that a finding in

   favor of Plaintiffs would suffocate a political organization’s freedom to associate and endorse

   political candidates that align with their ideologies and preferences, as provided by the First

   Amendment.

           Based on the foregoing, Intervenor CCDC respectfully submits that it should be permitted

   to intervene as a matter of right in this litigation.

   III.    ALTERNATIVELY, CCDC SHOULD BE PERMITTED TO INTERVENE
           PERMISSIVELY PURUSANT TO FED.R.CIV.P. 24(b)(1)(B).

           To the extent that the Court is inclined to deny CCDC’s motion to intervene as of right,

   CCDC respectfully requests that it be permitted to intervene in this matter permissively. Under

   Rule 24, permissive intervention is available upon timely application when a non-party “has a

   claim or defense that shares with the main action a common question of law or fact.” Fed.R.Civ.P.

   24(b)(1)(B). “Whether to grant permissive intervention under Rule 24(b) . . . is within the

   discretion of the district court.” Brody, 957 F.2d at 1124. “In exercising its discretion, the court

   must consider whether the intervention will unduly delay or prejudice the adjudication of the

   original parties’ rights.” Fed.R.Civ.P. 24(b)(3).

           Here, CCDC has defenses that share with the main action a common question of law or

   fact regarding the constitutionality of New Jersey’s primary election system and the administration


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   and application of New Jersey’s election laws in facilitating primary elections. These issues of

   fact and law are identical to those currently before this Court. Permitting CCDC to intervene in

   this matter and protect its interest in ensuring that its freedom to associate with political candidates

   is safeguarded will advance the interests of efficiency and judicial economy. Further, intervention

   by CCDC will not unduly delay or prejudice the adjudication of the original parties’ rights, as

   Defendants have not yet filed an Answer to Plaintiffs’ First Amended Complaint. Therefore, it is

   appropriate for the Court to exercise its broad discretion to permit CCDC to intervene in this

   matter.

                                             CONCLUSION
             For these reasons, Intervenor CCDC respectfully requests that its instant Motion to

   Intervene be granted.


                                                  Respectfully submitted,

                                                  BROWN & CONNERY, LLP
                                                  Attorneys for Intervenor, Camden County Democrat
                                                  Committee

   Dated: July 21, 2022                           /s/ William M. Tambussi
                                                  William M. Tambussi
                                                  Alyssa I. Lott




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                                EXHIBIT A
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